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 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       )       No. 2:11-cr-0166 MCE
     Plaintiff,                                      )
12
                                                     )
                                                     )       STIPULATION REGARDING
13          v.                                       )       EXCLUDABLE TIME PERIODS
                                                     )       UNDER SPEEDY TRIAL ACT;
14
     HUANCHANG MA,                                   )       FINDINGS
     Defendants.                                     )
15
                                                     )       Date: March 7, 2013
                                                     )       Time: 9:00 a.m.
16
                                                     )       Judge: Honorable Morrison C. England, Jr.
                                                     )
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                                                     )
                                                     )
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19          The United States of America through its undersigned counsel, Todd D. Leras, Assistant

20   United States Attorney, together with counsel for defendant Huanchang Ma, John R. Manning,
21
     Esq., hereby stipulate the following:
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        1. By previous order, this matter was set for status conference on January 31, 2013.
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        2. By this stipulation, defendant now moves to continue status conference until March 7,

25   2013 and to exclude time between January 31, 2013 and March 7, 2013 under the Local Code T-
26   4 (to allow defense counsel time to prepare).
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        3. The parties agree and stipulate, and request the Court find the following:
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     a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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 2      PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several

 3      individuals have been charged. Many, if not all the defendants a part of this
 4
        investigation are non English speakers and require the services of an interpreter to
 5
        communicated with. The widespread need for Cantonese/Mandarin interpreters in
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 7
        this case, the companion cases(s), and in general, has made scheduling meetings very

 8      difficult.
 9      However, as this case is winding up, scheduling has become less difficult. To that
10
        end, the Defense has provided the Government with additional discovery and the
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        Government needs to time to review the material and evaluate their next step.
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13   b. The Government does not object to the continuance.

14   c. Based on the above-stated findings, the ends of justice served by granting the
15
        requested continuance outweigh the best interests of the public and the defendants in
16
        a speedy trial within the original date prescribed by the Speedy Trial Act.
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     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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19      Section 3161(h)(7)(A) within which trial must commence, the time period of January

20      31, 2013 to March 7, 2013, inclusive, is deemed excludable pursuant to 18 United
21
        States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4
22
        because it results from a continuance granted by the Court at defendant’s request on
23
        the basis of the Court’s finding that the ends of justice served by taking such action
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25      outweigh the best interest of the public and the defendant in a speedy trial.

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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6
     Dated: January 28, 2013                                       /s/ John R. Manning
 7                                                                JOHN R. MANNING
 8
                                                                  Attorney for Defendant
                                                                  Huanchang Ma
 9

10   Dated: January 28, 2013                                      Benjamin B. Wagner
11
                                                                  United States Attorney

12                                                                by:/s/ Todd D. Leras
                                                                  TODD D. LERAS
13
                                                                  Assistant U.S. Attorney
14

15                                               ORDER
16           IT IS SO ORDERED.

17
     DATED: February 1, 2013
18

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21                                              __________________________________________
                                                MORRISON C. ENGLAND, JR., CHIEF JUDGE
22
                                                UNITED STATES DISTRICT JUDGE
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